                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:23-CV-422-MOC-DCK

 NADINE BALLARD, et al.,                           )
                                                   )
                 Plaintiffs,                       )                  ORDER
                                                   )
    v.                                             )
                                                   )
 BANK OF AMERICA, N.A., et al.,                    )
                                                   )
                 Defendants.                       )
                                                   )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 75) filed by Local Counsel Gary W. Jackson on December 4,

2023. See (Document No. 37)

         Applicant Robert K. Shelquist seeks to appear as counsel pro hac vice for Plaintiff Robert

Schak. Upon review and consideration of the motion, which was accompanied by submission of

the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 75) is GRANTED. Robert K.

Shelquist is hereby admitted pro hac vice to represent Plaintiff Robert Schak.

         SO ORDERED.

                                Signed: December 4, 2024




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